






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-02-00713-CV






In the Matter of D. P.







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT


NO. J-18,744, HONORABLE WILLIAM D. KING, JUDGE PRESIDING 






M E M O R A N D U M   O P I N I O N




	After a bench trial, appellant D.P. was adjudicated delinquent based on the offense
of assault on a public servant.  See Tex. Pen. Code Ann. § 22.01(b)(1) (West Supp. 2004).  The court
committed appellant to the custody of the Texas Youth Commission.  In one issue on appeal,
appellant contends that there was a material variance between the state's allegations in the original
petition and the evidence adduced at trial, which was substantial, misleading and prejudicial and
rendered the evidence legally insufficient to support appellant's adjudication of delinquency.  We
will affirm the trial court's judgment.


Factual and Procedural Background



	In September 2002, while residing at the Travis County Leadership Academy (the
Academy), appellant made a phone call to someone who was not on his approved list.  After one of
appellant's peers confronted him about the illicit phone call, a group of Academy residents engaged
in a "huddle-up," a process used at the Academy to confront negative behavior.  During the "huddle-up," the participants stand in a circle and attempt to talk through a problem.  During this particular
"huddle-up," appellant kept telling his peer that he did nothing wrong, but the peer insisted that
appellant confess to making the illicit phone call.  According to Vicki O'Hara, a residential treatment
officer at the Academy, the appellant "lost it" when his peer refused to believe him.

	Michael Botello, a residential treatment officer at the Academy, was the target of the
assault.  He testified that he saw appellant make fists with his hands and begin cursing.  Such
aggressive behavior in the "huddle-up" was against Academy rules.  Botello approached appellant,
told him to take a time-out, and began walking him to the time-out room.  When they came to the
door, appellant turned around and started swinging his arms at Botello.  Botello immediately grabbed
appellant and wrestled him onto his back on the floor.  Before Botello grabbed appellant's arms,
appellant hit Botello in the face two times.  After restraining appellant's arms, Botello rolled
appellant onto his stomach and put him into a primary restraint hold, a maneuver used to restrain
juveniles who become violent.  While being held in this position, appellant began scratching at
Botello's side until O'Hara restrained appellant's hands.  Four other Academy officers came to the
scene to help control appellant.  They held appellant down for twenty minutes until appellant said
he was calm, and they released him.  Appellant then backed up to a wall, raised his fists, and said,
"All right, what's up now, what do y'all want to do now."  The officers restrained appellant for
another fifteen minutes.

	When asked whether he felt any pain from the punches, Botello testified that he did
not initially feel the impact of being hit.  He said there was no bruising on his face, and he did not
recall observing any redness after the incident.  While appellant's hands were at his sides as he was
being held on the floor, Botello said he was trying to "punch me, scratch me on the side."  When
asked, "Did that hurt at the time?," he answered, "Yes."  He said appellant's actions physically hurt
him at the time and left scratches.  When asked what appellant used to scratch him, Botello said,
"His fingers, his hands."  The defense had no questions for Botello.

	James Richard, a nurse at the Academy, was one of the participants in restraining
appellant.  He said that appellant was kicking Botello "rather violently" and attempting to "claw and
scratch him."  Richards said that the punches struck Botello in the head, the back of the head, and
the top of the neck area.  He observed that appellant had several abrasions on his body.  Dionecia
Garcia, another staff member who participated in restraining appellant, testified that during the time
appellant was being restrained, he was constantly threatening the staff and the boy who reported his
phone call.  When released from the restraint, appellant backed up against a wall and assumed a
threatening posture.  As they restrained appellant a second time, Garcia was hit twice in the head
with an elbow.

	After the prosecution rested, the defense moved for a directed verdict, claiming that
the State had not proved the element of bodily injury or that appellant knew that Botello was a public
servant.  The court overruled the motion for directed verdict.


Discussion



	In his only issue on appeal, appellant contends there was a material variance between
the State's allegations in the original petition and the evidence adduced at trial; that variance was
substantial, misleading and prejudicial and rendered the evidence legally insufficient to support
appellant's adjudication of delinquency. 

	The court of criminal appeals has held that a variance between a charging instrument
and evidence adduced at trial is a legal sufficiency issue.  See Gollihar v. State, 46 S.W.3d 243, 246
(Tex. Crim. App. 2001).  Such an issue arises when the State proves a defendant guilty of a crime,
but the evidence shows that the crime was committed in a manner that varies from the allegations
in the indictment; if such a variance is material, the evidence may be insufficient to sustain the
conviction.  Id.  Gollihar rejected the surplusage doctrine, which formerly required the State to prove
an "extra or unnecessary allegation [that] 'is descriptive of that which is legally essential to charge
a crime.'"  Id. at 250 (quoting Eastep v. State, 941 S.W.2d 130, 134 n.7 (Tex. Crim. App. 1997)). 
The Gollihar court held that a variance is fatal only if it is material and if it prejudiced the
defendant's "substantial rights" by denying him the ability to adequately prepare a defense or by
exposing him to the risk of being prosecuted later for the same crime.  Id. at 257 (citing United States
v. Sprick, 233 F.3d 845, 853 (5th Cir. 2000)). (1)

	Although this Court has noted that a juvenile adjudication proceeding is a quasi-criminal proceeding, see In re M.S., 940 S.W.2d 789, 790-91 (Tex. App.--Austin 1997, no writ),
juvenile proceedings generally are governed by the rules of civil procedure and the family code.  Tex.
Fam. Code Ann. § 51.17 (West Supp. 2004); In re R.J.H., 79 S.W.3d 1, 6 (Tex. 2002); In re L.M.,
993 S.W.2d 276, 280 n.3 (Tex. App.--Austin 1999, pet. denied); In re O.C., 945 S.W.2d 241, 243
(Tex. App.--San Antonio 1997, no writ).  Under the rules of civil procedure, an alleged variance
between the pleadings and proof is evaluated by considering whether the variance is substantial,
misleading, and prejudicial.  O.C., 945 S.W.2d at 243 (citing Brown v. American Transfer &amp; Storage
Co., 601 S.W.2d 931, 937 (Tex. 1980)); In re A.B., 868 S.W.2d 938, 942 (Tex. App.--Fort Worth
1994, no writ). 

	In this case, the original petition stated that the appellant "on or about the 9th day of
September, 2002, in Travis County, State of Texas . . . did then and there knowingly, intentionally,
and recklessly cause bodily injury to Michael Botello, a public servant, by striking the said Michael
Botello with his hand, while Michael Botello was lawfully discharging an official duty and when the
said [appellant] knew Michael Botello was a public servant."  Appellant contends that his rights were
prejudiced because the prosecution switched to an alternate theory of guilt midway through trial by
proving that appellant caused bodily injury by scratching appellant with his hand rather than striking
him with his hand.

	Appellant claims that no definition of the word "strike" includes the word "scratch,"
relying on its absence from fifty-seven definitions of "strike."  See American Heritage Dictionary
1276 (William Morris ed., New College Edition 1976).  Appellee counters with the definition of
"strike" as to "penetrate or pierce," relying on the American Heritage Dictionary (Joseph P. Pickett
ed., 4th ed. 2000). (2)  "Strike" also means to come into forceful contact with or collide with. 
Webster's Third New International Dictionary 2262 (Philip B. Gove ed., 1986).  Appellant has not
demonstrated how he was surprised or mislead or how his trial preparation was affected by an
allegation of "striking" with his hand and proof that the bodily injury was caused by "scratching"
using appellant's hands and the fingers that are part of his hands.  Similarly, one can also read the
word "strike" to mean that the appellant was accused of causing bodily injury by his hands colliding
or coming into forceful contact with Botello.  Again, appellant has not demonstrated how he was
surprised or mislead.  The record indicates that appellant did not raise the variance issue until his
motion for new trial.  All of the participants in the altercation testified; although appellant chose not
to cross-examine Botello, he cross-examined other witnesses.  Appellant did not object to the
testimony concerning appellant kicking and scratching Botello while in the restraint hold as well as
punching him. 

	This case is distinguishable from L.G.R. v. State, on which appellant relies.  See 724
S.W.2d 775, 775 (Tex. 1987).  In L.G.R., the State charged that the defendant had intentionally set
fire to a building.  Id.  At trial, the jury charge authorized conviction if the jury found that defendant
had intentionally set fire to a boxcar outside the building.  Because the State failed to allege that the
defendant had set fire to a boxcar, the defendant was prejudiced in adequately preparing a defense. 
Id. at 776.  Without knowing that the State would proceed under a theory of transferred intent, the
defendant could reasonably have believed that he only intentionally set fire to the boxcar and that
this precluded him from being guilty for intentionally setting fire to the building.  Id.

	In contrast, in this case, the State alleged that appellant inflicted bodily injury by using
his hands.  The evidence showed bodily injury by use of appellant's hands.  The jury was so charged. 
There was no change in the State's theory and proof that appellant inflicted bodily injury by using
his hands.  Appellant has not carried his burden of showing that he was harmed by the variance.  See
Santana v. State, 59 S.W.3d 187, 194 (Tex. Crim. App. 2001) (burden of demonstrating surprise or
prejudice rests with defendant).  We therefore hold that any variance that may have existed between
the State's petition and the evidence presented at trial was not fatal. (3)

	The gravamen of appellant's complaint really is that the State did not prove the
element of bodily injury.  Appellant believes that the scratches inflicted on Botello and his testimony
that he felt pain from appellant's activities with his hands are insufficient to establish bodily injury. 
The definition of bodily injury is "physical pain, illness, or any impairment of physical condition." 
Tex. Pen. Code Ann. § 1.07(a)(8) (West Supp. 2004).  This definition is purposefully broad, seeming
to encompass even relatively minor physical contacts so long as they constitute more than mere
offensive touching.  See Lane v. State, 763 S.W.2d 785, 786 (Tex. Crim. App. 1989) (assailant
grabbed wallet and victim's fingers and twisted, leaving bruise on wrist, victim testified she suffered
pain; adequate to show bodily injury although not struck or pushed down by assailant); Lewis v.
State, 530 S.W.2d 117, 118 (Tex. Crim. App. 1975) (physical pain when briefcase grabbed, arm
twisted back  leaving small bruise); Salley v. State, 25 S.W.3d 878, 881 (Tex. App.--Houston [14th
Dist.] 2000, no pet.) (police officer found appellant crying and in pain, her hair was "messed up in
back," and she said defendant hit her in the head with his fist; sufficient evidence to show bodily
injury); cf. In re M.C.L., 110 S.W.3d 591, 600 (Tex. App.--Austin 2003, no pet.) (evidence
insufficient to show bodily injury from juvenile kicking officer when only evidence of injury to
officer was cuts from glass shards from juvenile breaking window during struggle to force juvenile
into police car).  "In fact, the degree of injury sustained by a victim and the 'type of violence' utilized
by an accused appear to be of no moment . . . ."  Lane, 763 S.W.2d at 786.  Here, there is testimony
concerning pain inflicted by appellant's hands making forceful contact with Botello during the
struggle when appellant was punching and scratching Botello, testimony that abrasions were
observed, and testimony concerning residual scratch marks on the skin which indicated some degree
of penetration of the skin.  The State proved the element of bodily injury. (4)


Conclusion



	Appellant failed to establish a fatal variance between the State's pleading and proof. 
Accordingly, sufficient evidence supported his adjudication as delinquent based on the offense of
assault on a public servant.  We overrule his only issue and affirm the trial court's judgment.



					__________________________________________

					W. Kenneth Law, Chief Justice


Before Chief Justice Law, Justices B. A. Smith and Puryear


Affirmed


Filed:   May 6, 2004
1.        Although the State discusses the jeopardy prong of Gollihar, appellant does not contend that
the variance exposes him to double jeopardy.  Accordingly, we do not discuss that aspect of variance
analysis.
2.        "[T]o pierce or penetrate" is also definition nine in Websters Third New International
Dictionary 2262 (Philip B. Gove ed., 1986).
3.        The supreme court has not decided whether the Gollihar standard should apply to juvenile
adjudication proceedings.  However, we need not address this question here.  Even if we assume that
Gollihar applies, appellant has not explained how his substantial rights were prejudiced by the
alleged variance.  There is no evidence that he was unable to prepare an adequate defense.  See
Santana v. State, 59 S.W.3d 187, 194-95 (Tex. Crim. App. 2001).  
4.        The State did not charge appellant with an offense requiring the State to prove serious bodily
injury.  See Tex. Pen. Code Ann. § 1.07(a)(46) (West Supp. 2004) (serious bodily injury means
bodily injury that creates a substantial risk of death or that causes death, serious permanent
disfigurement, or protracted loss or impairment of the function of any bodily member or organ).


